








MEMORANDUM OPINION




No. 04-03-00500-CR



David SMITH,


Appellant



v.



The STATE of Texas,


Appellee




From the 227th Judicial District Court, Bexar County, Texas


Trial Court No. 1995-CR-1485


Honorable Philip A. Kazen, Jr., Judge Presiding



PER CURIAM


Sitting:	Sarah B. Duncan, Justice

		Karen Angelini, Justice

		Sandee Bryan Marion, Justice


Delivered and Filed:	November 12, 2003


MOTION TO DISMISS GRANTED; DISMISSED  

	Appellant filed a motion to dismiss his appeal. The motion is granted, and this appeal is dismissed.
See Tex. R. App. P. 42.2(a).

							PER CURIAM

Do not publish


